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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

   HENRIETTA PHILLIPS,

            5040 NW 3rd St                               Case No.
            Unit B
            Delray Beach, FL 33445

            PLAINTIFF,

   v.                                                    JURY TRIAL REQUESTED

   DELTA AIR LINES, INC.,

            Serve: Corporation Service Company
            1201 Hays Street
            Tallahassee, FL 32301-2525

            DEFENDANT.




                                               COMPLAINT

            COMES NOW, the Plaintiff, Henrietta Phillips, by and through counsel, and for her

  Complaint herein, states as follows:

                                 JURISDICTIONAL ALLEGATIONS


        1. Plaintiff Henrietta Phillips is a citizen of the State of Florida.

        2. Delta Air Lines, Inc., (“Delta Air Lines”), is a corporation organized under the laws

  of the State of Delaware with its principal place of business in the State of Georgia.

        3. Plaintiff brings her complaint under federal diversity jurisdiction, 28 U.S.C. §1332, as

  the parties are completely diverse in citizenship and the amount in controversy exceeds

  $75,000.
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                                COMMON ALLEGATIONS OF FACT

      4. Delta Air Lines regularly operates flights into and out of Fort Lauderdale

  International Airport (FLL) in Fort Lauderdale, Florida, and avails itself of the privileges

  and benefits of conducting business in the State of Florida.

      5. On May 2, 2018, Plaintiff, Henrietta Phillips, was a fare-paying passenger on board Delta

  Flight Number DL2432, departing from FLL with its intended destination of Raleigh-Durham

  International Airport (RDU) near Morrisville, North Carolina. Until the approach and landing at

  RDU, the flight was operated normally without incident.

      6. Upon its arrival at RDU, the flight crew of Flight DL2432 failed to monitor the

  approach speed and rate of descent which caused the aircraft to impact the runway at an

  excessive vertical rate of speed, which resulted in a violent jolt inside the cabin, causing

  several passengers audibly to cry out, and causing Plaintiff Phillips to suffer serious and

  permanent injuries to her back and spine.

      7. As a result of the foregoing, Plaintiff Henrietta Phillips has suffered pain, discomfort

  and restriction of her daily and recreational activities, and has received medical treatment

  including surgery, which has resulted in increased health and medical costs.

                                               COUNT I
                                             NEGLIGENCE

      8. Plaintiff reavers and incorporates by reference the previous paragraphs of this

  Complaint as if fully re-written here.

      9. At all times relevant, Delta Air Lines, as a common carrier, had an obligation to

  exercise the highest degree of care for its passengers’ safety, including the safety of passenger

  Henrietta Phillips, Plaintiff herein.

      10. Delta Air Lines negligently failed to comply with this requirement by failing to operate
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  DL 2432 in a safe and responsible manner, failing to train its flight crew in the safe and non-

  hazardous operation of its aircraft, and in other ways which will be determined through discovery.

      11. As a direct and proximate result of the negligence of Delta Air Lines and the flight crew

  of DL 2432, operating within the course and scope of its employment, Plaintiff Henrietta

  Phillips was injured, suffered pain, lack of mobility, tremendous restrictions in her activities and

  enjoyment of life, and was forced to undergo medical treatment, including surgery, and has

  sustained increased expenses for medical treatment, as well as emotional distress caused by the

  forced curtailment of her activities.

      12. Plaintiff Henrietta Phillips continues to suffer from her physical injuries and the

  anguish associated with those injuries, including curtailment of her activities and loss of

  enjoyment of life, as a direct and proximate result of Delta Air Lines’ negligent conduct.

      WHEREFORE, Plaintiff Henrietta Phillips demands judgment against the Defendant, Delta

  Air Lines, for compensatory damages in excess of $75,000.00, costs, and interest as allowed by

  law and for such other relief as the Court deems just, and demands a trial by jury on all issues

  so triable as a matter of right.

         Respectfully submitted this the 26th day of February, 2021.



                                                                         _______________________
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